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                    UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA, et al.,
                                         Case No. 1:24-cv-03973-AS-SLC
                 Plaintiffs,
                                         [Rel. 1:24-cv-04106-AS-SLC; 1:24-cv-03994-
     v.
                                         AS-SLC]
LIVE NATION ENTERTAINMENT, INC.,
and TICKETMASTER L.L.C.,                 ORAL ARGUMENT REQUESTED

                 Defendants.



                 MEMORANDUM OF LAW IN SUPPORT OF
                  DEFENDANTS’ MOTION TO DISMISS
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                                PRELIMINARY STATEMENT

       The Government’s case against Live Nation will ultimately fail because its factual premises

are false. No, scores of venues do not choose Ticketmaster because Live Nation has threatened

retaliation if they do not; they choose Ticketmaster because it offers a superior technology that

empirically sells more tickets. No, Ticketmaster does not force exclusivity on venues to hold off

rivals; venues themselves frame their ticketing rights as an exclusive asset to be auctioned to the

highest bidder because that commercial structure maximizes the venues’ own revenue. No, Live

Nation did not strong-arm Oak View Group into refraining from becoming a competing concert

promoter, as Oak View Group itself will confirm. The claims rooted in these allegations are

factually groundless, to say the least, and as this case goes forward, the litigation will properly

concern what evidence the Government can marshal to support these theories.

       In several respects, however, claims in the Amended Complaint are legally infirm on their

face and therefore amenable to adjudication on a Rule 12 motion. Through this motion, Live

Nation seeks dismissal of two in particular: First, the claim that a refusal to rent Live Nation-

owned amphitheaters to rival promoters is an unlawful tying arrangement; and second, the claim

that the State Plaintiffs have parens patriae standing to assert Sherman Act claims arising from

conduct in product markets in which the States’ citizen-consumers do not participate and from

which they suffer no discernible antitrust injury.

       On the first issue, the logic of the Government’s tying claim goes like this: Live Nation

has a dominant position in a product market allegedly limited to amphitheaters and nothing else.

And it uses that dominant position to distort competition in a separate market for the “provision of

promotion services to artists performing in major concert venues.” Amended Complaint, ECF No.

257 (“Am. Compl.”), ⁋ 243. Essentially, the theory goes, Live Nation tells artists, “if you want to

play the amphitheaters I own, you have to take my concert promotion services as well.”
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       That claim is legally defective. It implies that Live Nation must allow rival concert

promoters to book its amphitheaters. But Supreme Court precedent squarely forecloses that result.

There is no duty to deal with rivals under federal antitrust law, except in the rarest circumstances

not alleged here.

       Plaintiffs try to evade this bedrock principle of antitrust law by seeking to reframe as

“tying” what their own allegations show to be a refusal to deal. That gambit fails for three reasons.

First, the case law is clear that refusal to deal doctrine cannot be evaded by artful pleading. The

substance of the challenged conduct governs, not a plaintiff’s characterization, and the Court

determines the proper doctrinal framework for a claim as a matter of law. Here, the well-pleaded

facts describe an industry in which risk-bearing promoters rent venues so they can include those

venues in touring offers. The core substantive contention of Plaintiffs’ claim is that Live Nation

does not rent its amphitheaters to rival promoters, instead limiting access only to Live Nation’s

own promoters. That presents a refusal to deal claim, not tying. Second, the suite of commercial

arrangements alleged in the Amended Complaint do not describe an antitrust “tie” at all. Tying is

the forced imposition of a second product on a single buyer who would prefer to buy the first

standing alone. Here, the buyers of the two supposedly tied products are different actors:

Promoters are the ones who rent amphitheaters from Live Nation, and performing artists are the

ones who hire promoters. Third, Plaintiffs argue that because promoters rent venues “on behalf

of” their artist customers, one should look past the promoter and essentially pretend that Live

Nation is entering into tying agreements with artists. Am. Compl. ¶ 208. The law permits no such

subterfuge. The single buyer and conditional dealing elements that define tying are mandatory—

it is never enough that a different business practice has tying-like effects. This “on behalf of”

theory is particularly baseless in the context of a refusal to deal, since substantially all refusal to



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deal claims concern a rival attempting to buy something to use “on behalf of” its customers. There

is nevertheless a clear-cut legal distinction between tying and refusals to deal, with each subject to

markedly different legal rules. The refusal to deal case law applies here.

       On the parens patriae issue, it is black-letter law that for states to assert federal antitrust

claims on behalf of their citizens as consumers, the citizens-as-consumers must themselves have

antitrust standing. Here they do not. Consumers do not participate at all in the bulk of the product

markets at issue in the Amended Complaint, and thus lack the type of injury necessary to make

them proper antitrust plaintiffs. See In re Aluminum Warehousing Antitrust Litig., 833 F.3d 151,

158 (2d Cir. 2016) (“Generally, only those that are participants in the defendants’ market can be

said to have suffered antitrust injury.”). In any event, the State Plaintiffs acting in their parens

patriae capacity are not “efficient enforcers” of any of the asserted Sherman Act claims, which is

an independent basis for dismissal. See Daniel v. Am. Bd. of Emergency Med., 428 F.3d 408, 443

(2d Cir. 2005).

       This case will be complicated enough. Live Nation respectfully asks the Court to grant

this Motion and allow the parties to focus discovery on the asserted legal theories whose viability

properly turns on the factual record as it will be developed, trimming from the litigation extraneous

claims that fail as a matter of law as pleaded. See Fed. R. Civ. P. 12(b)(6).

                                         BACKGROUND

       A.         Allegations Relevant To The Tying Claim

       Live Nation owns and operates a number of amphitheaters which host live music events.

Am. Compl. ¶ 16. It also offers concert promotion services to artists. Id. ¶ 17. Live Nation

allegedly has a policy of limiting use of its amphitheaters to artists who use Live Nation as a




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concert promoter. Id. ¶ 201.1 This allegedly gives Live Nation a competitive advantage in the

promotions market: “[A]rtists seeking to perform a tour in large amphitheaters are denied the

ability to work with the promoter of their choice if they want to play a Live Nation-owned or

controlled venue.” Id. That is the core harm alleged in the tying claim—that competition is

distorted in the market for concert promotion services by virtue of Live Nation’s dominance in

amphitheater ownership. Id. ¶ 244-46.2

       The Amended Complaint has some contradictory allegations about which actor—the

promoter or artist—actually engages in commercial transactions with venues like amphitheaters.

It contains a graphic at paragraph 19 which suggests that artists are the ones who do so. But

elsewhere it commits to the proposition that promoters are the ones who rent venues. In fact, the

alleged tied product market is called “[t]he provision of concert booking and promotion services

to major concert venues,” see id. ¶ 192, and the description of “booking and promotion services”

asserts that “Promoters … help the artist choose the venue(s) where they will play [and] work with

venues on behalf of the artist to arrange aspects of the show(s).” Id. ¶ 200. Paragraph 208 of the

Amended Complaint states clearly that “promoters reach out to venues to inquire about availability

and pricing,” and “promoters enter into contracts for access to amphitheaters on behalf of specific

artist clients.” See also id. ¶ 192 (“Typically, venues enter into individualized agreements with

promoters (either on a show-by-show or long-term basis), which dictate the payments between

venues and promoters in exchange for the performance(s).” (emphasis added)).




1
 We accept this as true for these purposes, but for the record Live Nation does sometimes rent its
amphitheaters (and other venues) to rival promoters.
2
  There is no allegation, nor could there be, that Live Nation is the only vertically integrated
promoter/venue operator with a similar policy. We nonetheless assume, contrary to reality, that
rival promoters do not have their own amphitheaters and similar policies.
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       Importantly, the Amended Complaint explains that when promoters rent venues for the

shows they put on, they are not merely acting as some kind of administrative functionary for the

artist. To the contrary, significant economic consequences flow from promoters being the parties

who engage in that transaction with venues. “Promoters take on the financial risk associated with

a show or tour, and in exchange they are compensated with a portion of the revenue generated by

successful shows.” Id. ¶ 200. A key element of this risk—and the promoters’ business relationship

with artists—is the promoter’s guarantee to make a minimum payment to the artist for each

performance. Id. ¶ 41. The Amended Complaint thus makes clear that promoters shoulder all the

downside risk inherent in a show. See id. ¶ 22. If a concert loses money, the promoter is the one

on the hook to the venue to pay the rent. The artist is not. There are also frequently financial

payments, typically referred to as “rebates,” that flow from the venue to the promoter, that are not

passed on to the artist. See id. ¶ 42. So promoters are not simple agents renting venues for a

principal. As the Amended Complaint acknowledges, the promoter has an independent—and

material—economic stake in the commercial transaction with the venue.

       B.      Allegations Relevant To The Parens Patriae Claims

       Twenty-seven of the State Plaintiffs seek treble damages in their parens patriae capacities

on behalf of “natural persons” residing in their states for Defendants’ alleged violation of the

federal antitrust laws. See id. ¶¶ 217, 517(j). The supposed antitrust injury supporting the State

Plaintiffs’ parens patriae damages claims is that consumers “paid more and continue to pay more

for fees relating to tickets to live events than they would have paid in a free and open competitive

market.” Id. ¶ 223. There are dozens of allegations in the Amended Complaint discussing

ticketing fees, see, e.g., id. ¶¶ 43-44, 48, 141-42, 145-46, but the actual violations that Plaintiffs

allege have almost nothing to do with consumers or the ticketing fees they pay.



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       Plaintiffs assert five federal claims for violations of Sections 1 and 2 of the Sherman Act.

See id. ¶¶ 224-64. The first two claims relate to Defendants’ alleged actions in the ticketing space,

and the remaining three claims relate to Defendants’ alleged actions in the concert promotion space

and venue space. See id. With respect to the ticketing-related claims, Plaintiffs allege that

Defendants’ purportedly unlawful activity took place in the following relevant product markets:

(1) the “provision of primary ticketing services to major concert venues,” including a sub-market

for the “provision of primary ticketing services for concerts and comedy events . . . to major concert

venues” (the “venue-facing ticketing markets”), id. ¶¶ 164, 172; and (2) the “provision of primary

concert ticketing offerings to fans at major concert venues,” and in the alternative, the provision

of “both primary concert ticketing offerings and services that provide resale for concert tickets to

fans at major concert venues” (the “fan-facing ticketing market”), id. ¶¶ 175, 185. As for the

promotion-related claims, Plaintiffs assert the following relevant product markets:            (1) the

“provision of concert booking and promotion services to major concert venues,” id. ¶ 192; (2) the

“provision of promotion services to artists performing in major concert venues,” id. ¶ 200; and

(3) the “provision of the use of large amphitheaters and ancillary services to musicians and

comedians . . . for large amphitheater tours,” (also related to the venue claim) id. ¶ 207.

       Consumers do not participate in any of promotion-related alleged product markets, in

which artists, promoters, and venues are the relevant players. See id. ¶¶ 161, 192, 200, 207. Nor

do consumers participate in the purported venue-facing ticketing markets, in which venues and

ticketers are the relevant players. See id. ¶ 161, 164, 172. The only alleged market in which

consumers participate is the alleged fan-facing ticketing market. See id. ¶ 161, 175, 185. And the

only claim involving this fan-facing ticketing market is Plaintiffs’ First Claim for Relief, which




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asserts that Defendants monopolized “several relevant markets related to primary ticketing

services.” See id. ¶ 225.

        Plaintiffs allege that Defendants monopolized the primary ticketing services markets

(including the alleged fan-facing ticketing market) by (1) directly and indirectly threatening venues

that Live Nation will divert shows to other venues if they do not sign with Ticketmaster,

(2) retaliating against venues that contract with rival ticketers, and (3) foreclosing rival ticketing

companies from the market, including through use of long-term exclusive contracts with venues.

See id. ¶ 227. None of this alleged conduct occurred in the fan-facing ticketing market, in which

ticketers sell tickets to fans. Instead, it involves Defendants’ alleged interactions with venues and

rival ticketers. See id.

        Plaintiffs allege a grab-bag of “anticompetitive effects” that supposedly result from

Defendants’ conduct in the ticketing space. See id. ¶¶ 139-54. With respect to venues and rival

ticketers, Plaintiffs assert that “venues have fewer real choices for obtaining concerts and ticketing

services;” Defendants have prevented “rivals and nascent threats” from entering the market; and

venues “reasonably fear the disruption, retaliation, and complications of partnering with anyone

other than Live Nation,” which has “raised rivals’ costs” in their agreements with venues.

Id. ¶¶ 139-54. With respect to fans, Plaintiffs allege consumers pay higher fees and get a “lower-

quality ticketing experience.” See id. ¶ 145. Plaintiffs claim that, “by locking venues into its

business model, Live Nation has . . . dampened competition that otherwise would push fees down

for fans.” Id. ¶ 150. But Plaintiffs do not elaborate on how, exactly, increased competition for

ticketing contracts or non-exclusive ticketing agreements between venues and Ticketmaster would

“push fees down for fans.” See id. Nor does the Amended Complaint contain any allegations




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concerning why the attacks on the exact same conduct as it relates to non-fan-facing product

markets in the ticketing space would somehow fail to address the identical competitive concerns.

                                          ARGUMENT

I.     PLAINTIFFS’ TYING CLAIM FAILS

       Plaintiffs’ tying claim must be dismissed because it seeks to impose on Live Nation a duty

to deal with its rivals—an outcome forbidden by law.

       A.      Plaintiffs Cannot Impose On Live Nation A Duty To Deal With Rival
               Promoters

       Settled law provides that Live Nation has no duty to aid its competitors. Its refusal to rent

its venues to rival promoters is therefore legally protected behavior. And Plaintiffs allege no facts

that implicate the narrow exception to this otherwise blanket rule.

       Courts have “long recognized [the] right of a [firm] engaged in an entirely private business,

freely to exercise [its] own independent discretion as to parties with whom [it] will deal.” Verizon

Commc’ns, Inc. v. Law Offices of Curtis V. Trinko, LLP, 540 U.S. 398, 408 (2004) (quoting United

States v. Colgate & Co., 250 U.S. 300, 307 (1919)); see also Pac. Bell Tel. Co. v. linkLine

Commc’ns, Inc., 555 U.S. 438, 449 (2009) (firm has “no antitrust duty to deal with its rivals”). It

is thus a bedrock principle of American law that the Sherman Act does not require “forced

sharing.” Trinko, 540 U.S. at 408. This is because requiring firms to help their competitors would

undermine the very purpose of antitrust law by impeding competition and hurting consumers. If

“firms [must] share the source of their advantage,” they have no “incentive . . . to invest” in their

businesses because whenever one firm invests in superior assets, rival firms will have a path to

capturing the same economic gain without shouldering any of the capital expense. Id. at 407-08.

Without forced dealing, consumer demand results in more investment, new, desirable products and

a responsive marketplace as rivals compete for business.


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       Courts are also wary of taking on the practical consequences of forced dealing, such as

setting the prices and terms of dealing. Doing so would require judges to become “central planners,

identifying the . . . terms of dealing” in complex and changing industries, “a role for which they

are ill suited.” Id. at 408. Judicial intervention can also have unintended consequences. See It’s

My Party, Inc. v. Live Nation, Inc., 811 F.3d 676, 691 (4th Cir. 2016) (“anticompetitive effects and

consequences . . . can ironically arise from antitrust lawsuits”). As the Supreme Court has warned,

“compelling negotiation between competitors” can actually exacerbate antitrust concerns by

requiring or “facilitat[ing] the supreme evil of antitrust: collusion.” Trinko, 540 U.S. at 408; see

also Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 594 (1986) (improper

application of antitrust doctrine can be “costly, because [it can] chill the very conduct the antitrust

laws are designed to protect”). Thus, mindful of the grave antitrust dangers inherent in judicially

imposed duties to deal, courts are steadfast in protecting “the broad right of a firm to refuse to deal

with its competitors.” In re Adderall XR Antitrust Litig., 754 F.3d 128, 134 (2d Cir. 2014) (quoting

In re Elevator Antitrust Litig., 502 F.3d 47, 52 (2d Cir. 2007) (per curiam)).

       Applied to the reality of what Plaintiffs are complaining about, this rule forecloses

Plaintiffs’ tying claim. As Plaintiffs allege, live concerts generally require three parties: an artist,

a promoter, and a venue. “For artists seeking to perform in major concert venues, promoters are

an essential component to ensuring the show or tour is successful.” Am. Compl. ¶ 200; see id.

¶ 194 (“the support of a promoter” is required for successful shows). One of the promoter’s core

responsibilities is lining up and contracting with venues, including amphitheaters if they are part

of the tour schedule. See supra at Background Section A; Am. Compl. ¶ 208 (“promoters contract

with amphitheaters”). Importantly, when Plaintiffs amended the Complaint knowing this motion

was coming and that Defendants had advised the Court that promoters rent venues, not artists, they



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did not add any new allegations about artists seeking to rent venues themselves. Rather, they

confirmed that “promoters reach out to venues to inquire about availability and pricing” and

“promoters enter into contracts for access to amphitheaters.” Id. ¶ 208. They added, in each case,

“on behalf of” artists, id., but that simply confirms that among the services promoters provide to

artists is procuring venues. As such, the Amended Complaint alleges that rival promoters wanting

to include Live Nation amphitheaters in their tour offers are seeking to rent venues from Live

Nation for their prospective artist-clients, and Live Nation is declining. That is a refusal to deal

claim.

         This provides the answer to the Court’s question at the Initial CMC about how these facts

“map” to the refusal to deal case law: in a word, squarely. Plaintiffs’ theory is the same in

substance as the one rejected in Trinko. There, customers alleged that Verizon, the dominant local

exchange carrier (LEC), “denied” rival LECs access to certain of its network “elements” “in order

to limit [rivals’] entry” into local exchange markets and “to discourage customers from becoming

or remaining customers” of Verizon’s competitors. Id. at 404, 407. Verizon’s rivals needed access

to these network elements to provide the same level of service to customers. See id. at 401-11.

The rivals’ own assets were insufficient. Like here, the plaintiffs in Trinko alleged that antitrust

liability attached because Verizon’s refusal to let its rivals use its network elements made for a less

competitive market and narrowed customers’ range of choice. See id. at 404. The Supreme Court

soundly rejected that reasoning. The theory was “not a recognized antitrust claim,” the Court held,

because such “forced sharing” would contravene settled “refusal-to-deal precedents.” Id. at 408,

410. This is the pattern in dozens of refusal to deal cases—and in this one. See ABA Antitrust

Section, Antitrust Law Developments (Ninth) § 2(C)(3)(a) (2022) (collecting cases).




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       Notably, Plaintiffs do not even try to allege any facts that implicate the “sole exception to

the broad right of a firm to refuse to deal with its competitors,” which addresses the termination

of already-existing relationships. Adderall, 754 F.3d at 134 (citation omitted). The Supreme Court

outlined this exception in Aspen Skiing Co. v. Aspen Highlands Skiing Corp., 472 U.S. 585 (1985).

There, the Court acknowledged that antitrust liability can attach when a firm “unilateral[y]

terminat[es] [] a voluntary (and thus presumably profitable) course of dealing” with a rival. Trinko,

540 U.S. at 409 (emphasis omitted).3 As the Second Circuit has reiterated, the “limited nature of

[Aspen Skiing’s] exception to the right of refusal to deal” restricts that exception’s application to

“when a monopolist seeks to terminate a prior (voluntary) course of dealing with a competitor.”

Elevator Antitrust, 502 F.3d at 53; see also Novell, Inc. v. Microsoft Corp., 731 F.3d 1064, 1074

(10th Cir. 2013) (Aspen exception is a “narrow-eyed needle”). Plaintiffs fail to allege that here.

They never once allege that Live Nation had, and then sought to terminate, an amphitheater

arrangement with a competitor. To the contrary, they allege that “Live Nation has a longstanding

policy going back more than a decade of preventing artists who prefer and choose third-party

promoters from using its venues.” Am. Compl. ¶ 113; id. ¶ 115 (“the company has restricted the

use of its amphitheaters and other venues for years”). Aspen Skiing’s exception thus cannot apply

and the foundational duty-to-deal prohibition controls, foreclosing Plaintiffs’ claim. See Adderall,

754 F.3d at 134; New York v. Meta Platforms, Inc., 66 F.4th 288, 305 (D.C. Cir. 2023) (because

firm “had no prior course of dealing” with rivals, exception did not apply).




3
 Of course, the relationship must also be critical to the functioning of the market. Indeed, courts
have evolved the Aspen Skiing exception into a three-part test. See New York v. Facebook, Inc.,
549 F. Supp. 3d 6, 27 (D.D.C. 2021). The foundation of it, however, is a “monopolist’s
discontinuation of [a] preexisting course of dealing.” Id.
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       B.      Plaintiffs’ Efforts To Recast A Refusal To Deal As Tying Fail

       Against all this, Plaintiffs resort to semantics. Fundamentally, they seek to impose a duty

to deal with rivals through legal characterization, i.e., saying that there is tying when their own

allegations show a refusal to deal. Central to that strategy, Plaintiffs argue that because rival

promoters purchase venues “on behalf of” their artist clients, the legal rules and doctrinal concerns

about imposing an antitrust duty to deal with rivals are not implicated.

       In assessing these arguments, the starting point is that what mode of analysis to apply—

the choice of the applicable doctrinal framework—is a legal question appropriate for resolution on

a motion to dismiss. See, e.g., Stop & Shop Supermarket Co. v. Blue Cross & Blue Shield of R.I.,

373 F.3d 57, 61 (1st Cir. 2004) (“Whether a plaintiff’s alleged facts comprise a per se claim is

normally a question of legal characterization that can often be resolved by the judge on a motion

to dismiss or for summary judgment.”); In re ATM Fee Antitrust Litig., 554 F. Supp. 2d 1003, 1010

(N.D. Cal. 2008) (“the decision of what mode of analysis to apply—per se, rule of reason, or

otherwise—is entirely a question of law for the Court”); see also Phillip E. Areeda & Herbert

Hovenkamp, Antitrust Law, § 1909b (2024); (“the selection of a mode [of antitrust analysis] is

entirely a question of law” to be decided by the court). The Court determines what rules to apply

in relation to what the well-pleaded facts reveal, not by the label the plaintiff attaches to them.

               1.      Refusal To Deal Doctrine Cannot Be Evaded By Artful Pleading Alone

       Plaintiffs’ attempt to plead around the bedrock legal rule forbidding duties to deal by

styling their claim as one alleging a tie is not novel. Other parties have tried to recast a refusal to

deal claim as tying, but courts have wisely declined to entertain such end-runs, analyzing what are

in substance refusal to deal claims as refusal to deal claims regardless of how plaintiffs artfully

fashion their theory. See, e.g., New York, 549 F. Supp. 3d at 24-34 (refusal to provide API access

to competitors could not be attacked as tying), aff’d, 66 F.4th 288 (D.C. Cir. 2023); Rebotix Repair

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LLC v. Intuitive Surgical, Inc., 2021 WL 1227593, *8 (M.D. Fla. Mar. 8, 2021) (plaintiffs tying

allegations were “in essence a refusal to deal claim”). Indeed, another district court has already

concluded that near carbon-copy allegations that Live Nation’s venue and promotion services are

tied should be “consider[ed] [] as a refusal to deal claim.” It’s My Party, Inc. v. Live Nation, Inc.,

88 F. Supp. 3d 475, 501 (D. Md. 2015), aff’d, 811 F.3d 676 (4th Cir. 2016).4 Again, substance is

what matters, not characterization.

       Here, the substance is revealed by the logic of the claim, which is that rival promoters are

harmed—in a promotions market—because they cannot procure bookings at Live Nation

amphitheaters. The “practical” problem that this claim seeks to redress is clearly stated in

Paragraph 209 of the Amended Complaint: “artists . . . typically do not contract directly with

individual venues, as artists work with promoters who take on the financial risk of shows or entire

tours, arrange shows on their behalf, and promote their shows to their fans.” In that context, the

remedy in this case could not be a prohibition on conditional dealing with artists, as would be the

norm in a tying case asserting a claim that artists had been the victim of a forced tie, because

“artists … typically do not contract directly with individual venues.” Id. The only way to sever

Plaintiffs’ alleged “tie” and allow other promoters to compete more effectively would be to require




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  It’s My Party concerned, among other things, allegations that “Live Nation tied its promotion
services to performing in venues it owns.” Id. at 490. The tying claims under Section 1 of the
Sherman Act were dismissed at summary judgment for improper market definitions and the
absence of evidence of coercion. Id. Plaintiffs also claimed that Live Nation engaged in
monopolization through tying: “plaintiffs argue that Live Nation’s ‘forcing artists to use it
promotion services at its venues ... [is actionable] as part of a scheme to enhance, maintain and
abuse monopoly power.’” Id. at 501. In this context, the district court refused to accept plaintiffs’
characterization of the conduct as tying, applied refusal to deal law, and held “plaintiffs obviously
cannot succeed” because “[t]hey have not shown that Live Nation previously engaged in a
cooperative scheme with other promoters and allowed them to book concerts at its venues and later
withdrew this support.” Id. at 502.
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Live Nation to rent its venues to its rivals. That is a clear indication that this is not genuinely a

tying claim, but a unilateral refusal to deal claim foreclosed by Trinko and its progeny.

               2.      The Amended Complaint Nowhere Alleges Tying

       “A tying arrangement is an agreement by a party to sell one product but only on the

condition that the buyer also purchases a different (or tied) product.” Eastman Kodak Co. v. Image

Tech. Services, Inc., 504 U.S. 451, 461 (1992) (quotation omitted). It is thus a “fundamental

principle of antitrust law that an illegal tying arrangement requires that at least two products and/or

services be purchased by the same individual; that is, there must be lineal movement between the

products.” De Jesus v. Sears, Roebuck & Co., 87 F.3d 65, 71 (2d Cir. 1996) (quotation omitted);

see also Illinois Tool Works Inc. v. Indep. Ink, Inc., 547 U.S. 28, 34-35 (2006) (the “essential

characteristic of an invalid tying arrangement” requires a single “buyer” of two products (quotation

omitted)); Areeda & Hovenkamp, Antitrust Law, § 1700(a) (“[t]ying occurs when a seller refuses

to sell a product that a buyer desires unless the buyer also agrees to purchase a second product”).

       Here, Plaintiffs fail to allege the most fundamental element of tying: that a single buyer

wanted to buy only one product from a seller, but was forced to buy two. A genuine tying claim

in the context of this case would mean that there are consumers—artists—who (a) wish to acquire

the tying product (amphitheater access) directly from one firm and the tied product (promotional

services) from a second firm, (b) seek to enter into contracts with Live Nation for the amphitheater

access alone, and (c) are presented with terms obligating the purchase of the tied product from the

seller of the tying product, rather than from a third-party seller. It would be similar to Kodak,

where the Supreme Court held that where some copier owners bought replacement parts directly

from Kodak, selling those parts “on condition that [the customers themselves also] buy service

from Kodak” could be tying. 504 U.S. at 462-63 & n.8. Notably, that same reasoning did not

apply to Kodak’s policy of not selling parts to the rival service organizations, which was analyzed
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as a unilateral refusal to deal. See Image Tech. Services, Inc. v. Eastman Kodak Co., 125 F.3d

1195, 1209-12 (9th Cir. 1997).

       Plaintiffs do not allege that artists engage in analogous, Kodak-like purchasing behavior,

or that Defendants place similar conditions on rental agreements with artists. They plead “artists

seeking to perform a tour of large amphitheaters typically do not contract directly with individual

venues.” Am. Compl. ¶ 209. Plaintiffs’ claim is thus strictly about a vertically integrated

promoter/venue operator with a unilateral policy not to rent amphitheaters alone to other

promoters. As Areeda and Hovenkamp note, that sort of “[v]ertical integration also resembles

tying, but . . . the law does not and should not treat vertical integration with the hostility it has

applied to tying agreements.” Areeda & Hovenkamp, Antitrust Law, § 760a.


               3.      It Is Immaterial That Rival Promoters Would Be Renting Amphitheaters
                       “On Behalf Of” Artist Clients

       Plaintiffs’ ultimate answer to all of this is to contend that the legal rule forbidding duties

to deal does not apply here because promoters rent venues “on behalf of” their artist customers,

and therefore one should look past the promoter and essentially pretend that Live Nation is entering

into tying agreements with artists. Am. Compl. ¶ 208. That argument is meritless. There is no

exception to the bar on using antitrust law to impose a duty to deal with rivals on this basis.

Virtually every refusal to deal case concerns the effects the refusal to deal has on some rival’s

ability to do something “on behalf of” its current or potential customers. In Trinko, the competing

phone service provider sought access to the defendant’s telephony infrastructure on behalf of the

rival’s own customers. See 540 U.S. at 404-05. In Aspen Skiing, the plaintiff sought access to the

defendant’s mountains on behalf of skiers that would benefit from an all-mountain pass. See 472

U.S. at 589-99. In Elevator Antitrust, the plaintiffs sought elevator parts on behalf of their service

customers. 502 F.3d at 52. None of the cases dealing with antitrust duties to deal would make

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sense unless access to the defendant’s assets allowed a rival to accomplish something “on behalf

of” customers that it could not accomplish alone. Yet under Plaintiffs’ logic, every refusal to deal

case that could be linked to the purchase of some other product could be challenged as tying. That

is simply not the law.

       Plaintiffs’ “on behalf of” argument is not only contrary to the entire body of law

establishing that there is no duty to deal with rivals, it is also fatally undercut by the factual

allegations in the Amended Complaint. Specifically, Plaintiffs do not allege that promoters rent

venues like a real estate broker might, as nothing but the delegate of a principal. To the contrary,

as Plaintiffs allege, promoters take on significant “financial risk” when agreeing to work with an

artist. Am. Compl. ¶ 194; see also, id. ⁋ 209 (“promoters … take on the financial risk of shows or

entire tours, arrange shows on [artists’] behalf, and promote their shows to their fans”). If a show

“underperforms,” a promoter suffers financial harm, in part because the promoter has

“shoulder[ed]” the cost of the show—including the cost of the venue. Id. ¶ 22. But if a show is

successful, a promoter captures “upside” “profit[].” Id. Plaintiffs go to great lengths to plead that

when Live Nation is a promoter, it “extracts supracompetitive payments from venues, including

large promoter rebates, and otherwise imposes onerous, restrictive contractual terms on venues.”

Id. ¶ 198. The Amended Complaint is therefore describing an industry in which the promoter not

only hires the venue, but also has an independent financial interest in the commercial terms. And

in that setting, the core competitive injury asserted in the “tying” claim is one in the market for

concert promotion services. Id. ¶ 241-46. The idea is that promoters are allegedly being harmed

as promoters because they cannot offer their clients performances at Live Nation amphitheaters.

That is the quintessential refusal to deal injury—the rival is allegedly unable to compete effectively

because the dominant firm allegedly restricts the rival’s ability to provide the entirety of the



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product or services that end-users desire. There is no genuine tying arrangement anywhere in

sight.

                                               * * *

         In short, Plaintiffs’ tying claim must be dismissed because it seeks to impose a forbidden

duty-to-deal without plausibly alleging the narrow conditions for a viable duty-to-deal claim.

Trinko, 540 U.S. at 408; Adderall, 754 F.3d at 134.           Plaintiffs’ efforts to recast what is

unequivocally a refusal to deal as tying are unavailing: (1) the case law is clear that the substance

of the challenged conduct trumps semantic pleading labels, see, e.g., New York, 549 F. Supp. 3d

at 24-34; (2) the definitional elements of a tying arrangement are not optional—i.e., the law

requires that one buyer “purchase” two products for tying liability to attach, see, e.g., Kodak, 504

U.S. at 461; De Jesus, 87 F.3d at 71; and (3) there is no “on behalf of” exception to the no duty to

deal rule, and if there were, it would not apply to risk-bearing concert promoters as alleged.5

II.      THE STATE PLAINTIFFS CANNOT ESTABLISH ANTITRUST STANDING ON
         THEIR CLAIMS FOR DAMAGES UNDER THE SHERMAN ACT

         Twenty-seven State Plaintiffs seek treble damages in their parens patriae capacities—on

behalf of consumers—for Defendants’ alleged violation of Sections 1 and 2 of the federal Sherman

Act. Am. Compl. ¶ 517(j); see also 15 U.S.C. § 15c. These State Plaintiffs’ damages claims fail

because they have not alleged—and could never allege—antitrust standing.

         The doctrine of antitrust standing “prevents private plaintiffs from ‘recover[ing] damages

under [Section 4 of the Clayton Act, 15 U.S.C. § 15] merely by showing injury causally linked to



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  Live Nation respectfully seeks dismissal of this claim with prejudice. Plaintiffs have already
amended their complaint in an attempt to address the infirmity in their tying claim, to no avail.
And Plaintiffs have in fact affirmed in discovery responses that they have no evidence of artists
booking amphitheaters or other venues, so there is no point in allowing them to amend to change
their alleged facts around the core obstacle that the tying claim would impose a duty to deal with
rival promoters.
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an illegal presence in the market.’” Gatt Commc’ns, Inc. v. PMC Assocs., L.L.C., 711 F.3d 68, 76

(2d Cir. 2013) (quoting Atl. Richfield Co. v. USA Petroleum Co., 495 U.S. 328, 334 (1990)).

“Congress did not intend the antitrust laws to provide a remedy in damages for all injuries that

might conceivably be traced to an antitrust violation.” Assoc. Gen. Contractors of Calif., Inc. v.

Calif. State Council of Carpenters, 459 U.S. 519 (“AGC”), 534 (1983) (quotation omitted).

Antitrust standing therefore requires a plaintiff to plausibly allege both that it (1) has suffered an

“antitrust injury”—i.e., an injury “of the type the antitrust laws were intended to prevent and that

flows from that which makes [or might make] defendants’ acts unlawful”—and (2) “that it is a

suitable plaintiff to pursue the alleged antitrust violations and thus is an ‘efficient enforcer’ of the

antitrust laws.” Gatt, 711 F.3d at 76 (citations omitted). This is a “threshold question,” and the

absence of antitrust standing warrants dismissal. See id. at 75.

       The antitrust standing requirement applies to states bringing federal antitrust claims in their

parens patriae capacities. A state “plainly qualifies as a person” authorized to bring claims under

Section 4 of the Clayton Act, “whether it sues in its proprietary capacity or as parens patriae.”

Hawaii v. Standard Oil Co. of Cal., 405 U.S. 251, 261 (1972). Accordingly, the state “must still

show that the residents on whose behalf it sues have a cause of action and could satisfy the usual

rules of proximate causation and antitrust injury.” Areeda & Hovenkamp, Antitrust Law, § 355;

see also Pennsylvania v. Nat’l Collegiate Athletic Ass’n, 948 F. Supp. 2d 416, 432 (M.D. Pa. 2013)

(“Plaintiff [Commonwealth of Pennsylvania] ‘must still show that residents on whose behalf it

sues have a cause of action’ under the antitrust laws, and Plaintiff must adequately allege both an

antitrust injury and demonstrate that it has antitrust standing.” (citation omitted)); New York v.

Microsoft Corp., 209 F. Supp. 2d 132, 139 n.9 (D.D.C. 2002) (“[T]he case law which establishes

the doctrine of parens patriae standing proceeds along a separate channel from the body of law



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that defines standing and antitrust injury.”). The State Plaintiffs cannot establish antitrust standing,

and therefore their federal damages claims must be dismissed.

        A.      The State Plaintiffs Fail To Allege That Consumers Suffered Antitrust Injury

        Plaintiffs allege that Defendants engaged in anticompetitive conduct in at least six

“relevant antitrust markets related to ticketing and promotions.” Am. Compl. ¶ 161. The State

Plaintiffs claim that, as a “direct and proximate result” of this alleged unlawful conduct, consumers

in their states suffered injury in that “they have paid more and continue to pay more for fees relating

to tickets to live events than they would have paid in a free and open competitive market.” Id.

¶ 223. The State Plaintiffs fail to demonstrate that this purported harm constitutes cognizable

antitrust injury.

                1.     Consumers’ Alleged Injury Does Not Occur In Any Market Where
                       Competition Purportedly Is Restrained

        “Generally, only those that are participants in the defendants’ market can be said to have

suffered antitrust injury.” Aluminum Warehousing, 833 F.3d at 158 (2d Cir. 2016). Consumers

do not participate in most of the markets alleged in the Amended Complaint. They do not

participate in any of the promotions-related alleged markets, where artists, promoters, and venues

are the relevant players. See Am. Complaint ¶¶ 192, 200, 207. Nor do consumers participate in

the “venue-facing” alleged ticketing markets, in which ticketing companies provide primary

ticketing services to venues. See id. ¶¶ 164 (alleging that “venues [are] the customers for these

services”), 172. Accordingly, the State Plaintiffs fail to allege that consumers suffered cognizable

antitrust injury as a result of the alleged restraints in these purported markets. See Aluminum

Warehousing, 833 F.3d at 158; Ocean View Cap., Inc. v. Sumitomo Corp. of Am., 1999 WL

1201701, at *3 (S.D.N.Y. Dec. 15, 1999) (“[I]n this case, plaintiff alleges that the defendants

violated the antitrust laws through their actions on the LME futures market. Plaintiff did not


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participate in the LME futures market. Hence, plaintiff is not a participant in the ‘relevant market,’

and the Sherman Act was not designed to protect plaintiff's interests with respect to defendants’

activity on the LME.”).

        The only alleged market in which consumers participate is the purported “fan-facing”

market for the “provision of primary concert ticketing offerings to fans at major concert venues”

(and the alternative purported market for the provision of “primary concert ticketing offerings and

services that provide resale for concert tickets to fans at major concert venues”). Am. Compl.

¶¶ 175, 185. Plaintiffs allege that Defendants monopolized this purported market by engaging in

the same conduct in which they supposedly engaged to monopolize the venue-facing ticketing

markets, including threatening and retaliating against venues that contract with rival ticketers and

entering long-term exclusive ticketing agreements with venues. Id. ¶ 227. But none of this alleged

conduct occurs in the fan-facing market for the “provision of primary concert ticketing offerings

to fans at major concert venues” (or the alternative market that includes resale offerings). All of

this conduct relates to Defendants’ interactions with venues and rival ticketers in the “distinct”

venue-facing ticketing markets. See id. ¶¶ 161, 227. Because consumers suffered their alleged

injury in a different market (the fan-facing market) than the markets where competition was

allegedly restrained (the venue-facing markets), the State Plaintiffs fail to establish antitrust injury.

Am. Ad Mgmt., Inc. v. Gen. Tel. Co. of California, 190 F.3d 1051, 1057 (9th Cir. 1999) (“Antitrust

injury requires the plaintiff to have suffered its injury in the market where competition is being

restrained.”); Aluminum Warehousing, 833 F.3d at 161 (“[T]o suffer antitrust injury, the putative

plaintiff must be a participant in the very market that is directly restrained.”).




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               2.      Consumers’ Alleged Injury Is Not “Inextricably Intertwined” With
                       Alleged Injury To Other Market Participants

       There is a “narrow exception to the market participant requirement for parties whose

injuries are ‘inextricably intertwined’ with the injuries of market participants,” but this exception

does not apply here. See Aluminum Warehousing, 833 F.3d at 158 (quoting Am. Ad Mgmt., Inc.,

190 F.3d at 1057 n.5). “[T]o assess the plausibility of a putative plaintiff’s claim to antitrust injury

as being ‘inextricably intertwined’ with the injury the defendants ultimately sought to inflict,

courts ask whether the plaintiff was ‘manipulated or utilized by [defendant] as a fulcrum, conduit

or market force to injure competitors or participants in the relevant product and geographical

markets.” Aluminum Warehousing, 833 F.3d at 161 (citations omitted).

       The Amended Complaint does not allege that Defendants used consumers as a means to

injure competitors or other participants in the various alleged markets. With respect to the

promotions-related markets, Plaintiffs allege that Defendants engaged in various anticompetitive

acts involving artists, promoters, and venues. See Am. Compl. ¶¶ 244, 250-51, 258-59. Plaintiffs

allege that certain of these practices “have had harmful effects on competition and consumers,” id.

¶¶ 253-54, 261-62, but there are no allegations whatsoever that consumers or their alleged injuries

(i.e., high ticketing fees) were used as a “conduit” to injure artists, promoters, or venues in these

promotions-related markets.

       With respect to the ticketing markets, as discussed above, Plaintiffs allege that Defendants

engaged in various anticompetitive actions involving venues and rival ticketers. Id. ¶¶ 225, 227,

234-35. Plaintiffs allege that this conduct resulted in harm to venues and rival ticketers, including

that “venues have fewer real choices for obtaining concerts and ticketing services”; Defendants

have “lock[ed] venues into [their] business model” and “dampened competition”; Defendants have

prevented “rivals and nascent threats” from entering the market; and venues “reasonably fear the


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disruption, retaliation, and complications of partnering with anyone other than Live Nation,” which

has “raised rivals’ costs” in their agreements with venues. Id. ¶¶ 139-54. Plaintiffs do not claim

that Defendants used consumers (or the fees they pay) as a means to cause these purported harms.

Cf. Blue Shield of Virginia v. McCready, 457 U.S. 465, 479 (1982) (finding plaintiff plausibly

alleged antitrust injury where her injury was “a necessary step in effecting the ends of the alleged

illegal conspiracy”). Rather, these alleged injuries are the result of entirely separate transactions

among Defendants, venues, and rivals.

       Indeed, the purported injury to consumers (i.e., that they “have paid more and continue to

pay more for fees relating to tickets to live events than they would have paid in a free and open

competitive market,” id. ¶ 223) is not even “causally linked” to the anticompetitive conduct alleged

in the purported ticketing markets—let alone injury “of the type the antitrust laws were intended

to prevent and that flows from that which makes [or might make] defendants’ acts unlawful.’” See

Gatt, 711 F.3d at 76 (citation omitted). For example, Plaintiffs allege that, but for Defendants’

allegedly unlawful exclusive ticketing agreements and purported threats of retaliation, venues

would have more choices in ticketing providers, and rival ticketers would pay less money to venues

in connection with their ticketing agreements. See Am. Comp. ¶¶ 146, 152. But Plaintiffs fail to

explain why ticketing fees would be lower in this but-for world.

       As a general matter, commercial actors—like venues—seek to maximize their profits.

Plaintiffs acknowledge that “[w]hen venues set aspects of ticket fees, they must not only account

for their own operating costs, but also ensure the fees are sufficient to cover all the payments the

venues must make to intermediaries like promoters and ticketers.” Id. ¶ 46. But the premise of

their claim appears to be that in a world in which their marginal costs went down, venues would

respond by gratuitously reducing prices for consumers rather than pocketing the incremental profit.



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That would certainly be a surprising result from an economic perspective. Regardless, though, if

Ticketmaster stopped entering exclusive contracts, venues would still have to “ensure the fees are

sufficient to cover all the payments the venues must make” to other ticketers and promoters. See

id. And according to Plaintiffs, Ticketmaster actually overpays venues by “sweeten[ing] ticketing

contracts” to keep venues “locked into long-term exclusive agreements.” Id. ¶ 154. In the absence

of these exclusive agreements with Ticketmaster, the logical prediction is that venues would seek

out similar or better financial deals for themselves, resulting in the same or even higher consumer

fees.

        The State Plaintiffs fail to establish antitrust injury for the consumers on whose behalf they

seek damages. Their damages claims under the Sherman Act must be dismissed.

        B.     Consumers Are Not “Efficient Enforcers” Of The State Plaintiffs’ Sherman
               Act Claims

        Even if the State Plaintiffs had pled antitrust injury on the Sherman Act claims, these claims

would still fail because consumers are not “efficient enforcers” of the antitrust claims alleged.

Gatt, 711 F.3d at 78. Courts consider four factors to determine whether a particular plaintiff is an

efficient enforcer, but the relative importance of each factor “will necessarily vary with the

circumstances of particular cases,” and not all factors are necessary to find that a plaintiff is not an

efficient enforcer. In re Aluminum Warehousing Antitrust Litig., 2023 WL 7180648, at *2–3 (2d

Cir. Nov. 1, 2023) (quoting Daniel, 428 F.3d at 443) (finding just two efficient enforcer factors

dispositive). The four factors are: (1) “the directness or indirectness of the asserted injury”; (2)

“the existence of an identifiable class of persons whose self-interest would normally motivate them

to vindicate the public interest in antitrust enforcement”; (3) “the speculativeness of the alleged

injury”; and (4) “the difficulty of identifying damages and apportioning them among direct and




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indirect victims so as to avoid duplicative recoveries.” Daniel, 428 F.3d at 443 (citation omitted)

(affirming dismissal where plaintiff was not efficient enforcer).

          As explained above, consumers’ alleged injury (i.e., paying high ticketing fees) is wholly

unconnected to the competitive harms that Plaintiffs allege in the Amended Complaint.

Consumers are not even participants in most of the alleged markets, and the purported

anticompetitive conduct took place in “markets” distinct from the fan-facing market in which

consumers purchased tickets. Moreover, as discussed above, the causal connection between the

alleged anticompetitive conduct and consumers’ injury is entirely speculative. See Gatt, 711 F.3d

at 78–79 (finding that plaintiff was not an efficient enforcer where, inter alia, its “purported

injuries are at best an indirect result of the primary asserted antitrust violation” and “the bulk of

[plaintiff’s] alleged damages are highly speculative”). And there are identifiable groups of other

potential plaintiffs—namely, the venues, artists, and rival promoters and ticketers that actually

participated in the markets alleged in the Amended Complaint—“whose self-interest would

normally motivate them to vindicate the public interest in antitrust enforcement.” See AGC, 459

U.S. at 542. According to the Amended Complaint, these market participants suffered more direct

injuries as a result of Defendants’ conduct. See Am. Compl. ¶¶ 144, 146, 149, 151–52. And of

course the United States government itself is already asserting claims over precisely the same

conduct—the states asserting federal antitrust claims are just piggybacking on that effort. At the

end of the day, the consumers in whose shoes the States seek to stand are not “efficient enforcers”

of the Sherman Act claims alleged in the Amended Complaint, and as a result, the State Plaintiffs

lack antitrust standing to pursue damages on their behalf. See Gatt, 711 F.3d at 80. The Court

should dismiss the State Plaintiffs’ claims for damages under the Sherman Act for this independent

reason.



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                                       CONCLUSION

       The motion should be granted and these claims should be dismissed with prejudice.




Dated: September 18, 2024

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